                 Case 5:06-cv-06970-JF Document 40 Filed 09/13/07 Page 1 of 3



 1                                                                         **E-Filed 9/13/2007**
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 7                                              NOT FOR CITATION
 8                            IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                          SAN JOSE DIVISION
11
12    ELENA KAYRYAKOFF,                                        Case Number C 06-6970 JF

13                                 Plaintiff,                  ORDER1 DISMISSING PLAINTIFF’S
                                                               COMPLAINT & ENTERING FINAL
14                       v.                                    JUDGMENT

15    LANGER, et al.,

16                                 Defendants.

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            On November 8, 2006, Plaintiff Elena Kayryakoff filed the instant action, naming
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     numerous governmental and private-party Defendants. Ms. Kayryakoff still has not properly
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     served any Defendants. The Court has held several case management conferences, at which it
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     has advised Ms. Kayryakoff that it cannot proceed unless and until Defendants are served.
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            At one such conference on April 20, 2007, counsel for the United States of America
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     appeared specially as amicus curiae. Counsel thereafter submitted a letter to the Court which
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     respectfully suggested that Ms. Kayryakoff’s complaint fails to state a claim upon which relief
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     can be granted. At the most recent case management conference on September 7, 2007, Ms.
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     Kayryakoff informed the Court that she is unable to amend her complaint or properly serve any
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28          1
                This disposition is not designated for publication and may not be cited.

     Case No. C 06-6970 JF
     ORDER DISMISSING PLAINTIFF’S COMPLAINT & ENTERING FINAL JUDGMENT
     (JFLC3)
                Case 5:06-cv-06970-JF Document 40 Filed 09/13/07 Page 2 of 3



 1   of the Defendants in the case.
 2          The court weighs five factors in determining if dismissal of a case for failure to prosecute
 3   is warranted: (1) the public’s interest in expeditious resolution of litigation; (2) the court’s need
 4   to manage its docket; (3) the risk of prejudice to the defendants; (4) the public policy favoring
 5   disposition of cases on their merits; and (5) the availability of less drastic sanctions. Al-Torki v.
 6   Kaempen, 78 F.3d 1381, 1384 (9th Cir. 1996).
 7          Considering all of these factors, the Court concludes that dismissal without prejudice is
 8   warranted. Ms. Kayryakoff has stated that she has no plans to amend her complaint or to effect
 9   proper service on any of the Defendants. The Court has given Ms. Kayrayakoff ample
10   opportunity to remedy the problems with her case and she has indicated she is not able to do so.
11   Defendants would suffer prejudice if the action were to continue, because more than ten months
12   after filing there is still no indication that they have notice of this lawsuit. Although public
13   policy favors disposition of cases on the merits, when a plaintiff sues a party and then does not
14   take any steps to prosecute those claims, and indeed specifically indicates no intention of doing
15   so, public policy does not support a merits-based disposition of such claims. Having given Ms.
16   Kayrayakoff adequate opportunity to appear and show cause why her case should not be
17   dismissed, the Court does not believe that less severe sanctions are available to remedy the
18   procedural problems in this case.
19          Accordingly, dismissal without prejudice is proper pursuant to Fed. R. Civ. P. 41(b).
20   Judgment shall be entered in favor of the Defendants and shall constitute a final judgment.
21   IT IS SO ORDERED.
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     DATED: September 13, 2007
23
24                                                          JEREMY FOGEL
                                                            United States District Judge
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     Case No. C 06-6970 JF
     ORDER DISMISSING PLAINTIFF’S COMPLAINT & ENTERING FINAL JUDGMENT
     (JFLC3)
               Case 5:06-cv-06970-JF Document 40 Filed 09/13/07 Page 3 of 3



 1   This Order has been served upon the following persons:
 2   Claire T. Cormier     claire.cormier@usdoj.gov
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 4   Notice has been delivered by other means to:
 5   Elena Kayryakoff
     PO Box 162
 6   Santa Clara, CA 95052
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     Case No. C 06-6970 JF
     ORDER DISMISSING PLAINTIFF’S COMPLAINT & ENTERING FINAL JUDGMENT
     (JFLC3)
